

People v Richardson (2020 NY Slip Op 04087)





People v Richardson


2020 NY Slip Op 04087


Decided on July 17, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 17, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, LINDLEY, TROUTMAN, AND DEJOSEPH, JJ.


714.2 KA 19-01427

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vBEUFORD RICHARDSON, DEFENDANT-APPELLANT. 






TIMOTHY P. DONAHER, PUBLIC DEFENDER, ROCHESTER (DAVID R. JUERGENS OF COUNSEL), FOR DEFENDANT-APPELLANT.
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (NANCY GILLIGAN OF COUNSEL), FOR RESPONDENT. 


	Appeal from an order of the Monroe County Court (Christopher S. Ciaccio, J.), entered May 17, 2019. The order determined that defendant is a level three risk pursuant to the Sex Offender Registration Act. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed for reasons stated in the decision at County Court.
Entered: July 17, 2020
Mark W. Bennett
Clerk of the Court








